        Case 1:16-cr-10305-NMG Document 130 Filed 03/20/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                         )
UNITED STATES OF AMERICA )
                         )
V.                       )                   No. 16-10305-NMG
                         )
MARTIN GOTTESFELD,       )
                         )
                         )
          Defendant      )


    COUNSEL’S SECOND MOTION TO WITHDRAW APPEARANCE



       Undersigned counsel for the defendant, Martin Gottesfeld, hereby moves this Honorable

Court for leave to withdraw his appearance as attorney for Mr. Gottesfeld in this case.

       As reason therefore, counsel suggests that there has been an irretrievable breakdown of

the attorney/client relationship since he first moved to withdraw three weeks ago.

       Counsel requests a hearing on this motion as soon as possible.



                                                     Respectfully submitted,

                                                     Martin Gottesfeld,

                                                     By his attorney,

                                                     /s/ Raymond E. Gillespie
                                                     Raymond E. Gillespie
                                                     BBO #192300
                                                     875 Massachusetts Avenue Suite 32
                                                     Cambridge, MA 02139
                                                     (617) 661-3222
                                                     rgillespie1@prodigy.net
          Case 1:16-cr-10305-NMG Document 130 Filed 03/20/18 Page 2 of 2




                                CERTIFICATE OF SERVICE


        I hereby certify that on March 20, 2018 the foregoing document has been served upon all
persons listed in the Notice of Electronic Filing entered in the CM/ECF system in connection
with this case:


                                             /s/ Raymond E. Gillespie
                                             Raymond E. Gillespie




Withdraw032018
